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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

 IN RE:                                            Case No. 17-15787-RAM
                                                   Chapter 13
 ANDRE FOUAD AZZI,

             Debtor.
 ______________________________________/


                                     IMPORTANT NOTICE
Bank of America, N.A. ("BANA") is committed to helping its Consumer & Small Business
clients experiencing hardship. Depending upon circumstances of your case, BANA may be
 agreeable to a consensual resolution of this matter through, among other things, a Court
approved temporary deferral of payments, a restructuring of payments, or a restructuring
of payment amounts. If you, or where applicable any co-debtors, fall into this category, you
    or your counsel (if represented) should promptly contact the undersigned to discuss
                                      possible options.


      BANK OF AMERICA, N.A.’S MOTION FOR ORDER CONFIRMING THAT
       THE AUTOMATIC STAY AND CO-DEBTOR STAY IS NOT IN EFFECT
              (Re: 11861 SW 103rd Lane, Miami, Florida, 33186-8542)

       Bank of America, N.A. (“Movant”), by and through its undersigned counsel, files this

Motion for Order Confirming that the Automatic Stay and Co-Debtor Stay is not in Effect, and in

support thereof states as follows:

      1.       The court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, Fed. R.

Bankr. P. 4001, and the various other provisions of the United States Bankruptcy Code, Federal

Rules of Bankruptcy Procedure, and the laws of the United States of America.

      2.       Andre Foud Azzi (“Debtor”) filed a voluntary petition pursuant to Chapter 13 of

the Bankruptcy Code on May 8, 2017.

      3.       Movant holds a security interest in the Debtor's real property located at 11861 SW

103rd Lane, Miami, Florida, 33186-8542 (the “Property”), by virtue of a Mortgage, which was

executed by the Debtor and non-filing Co-Debtor Rocio L Urmeneta, which is recorded in OR
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Book 23776 at Page 0964 in the Public Records of Miami-Dade County, Florida. Said Mortgage

secures a Bank of America Equity Maximizer Agreement and Disclosure Statement (“Note”) with

a credit limit of $123,775.00.

      4.       The First Modified Chapter 13 Plan [D.E. No. 103] filed on July 19, 2021 provides

that payments on Movant’s claim regarding the Property will be paid by the Debtor directly to

Movant.

      5.       The Court entered an Order Granting Debtor’s Motion to Modify Plan and

Approving First Modified Chapter 13 Plan [D.E. # 111] on August 30, 2021, according to which,

“If the Plan does not provide for payments to a secured creditor, such creditor is granted in rem

stay relief to pursue available state court remedies against any Property of the Debtor’s which

secures the creditor's claim.” [D.E. No. 111] at ¶5.

      6.       Pursuant to the Order, in rem stay relief was granted to pursue available state court

remedies against any property of the debtor which secures the creditor’s claim.

      7.       Although Movant has in rem relief from the automatic stay as set forth in Paragraph

5 above, Movant seeks confirmation and clarification from the Court that this relief authorizes

Movant to enforce its remedies to foreclose upon and obtain possession of the Property, including

post-sale process and eviction proceedings, if necessary, in state court. Movant will neither seek

nor obtain an in personam judgment against the Debtor.

       WHEREFORE, Movant respectfully requests an Order confirming that the automatic stay

and co-debtor stay is not in effect, that Movant (and any successors and/or assigns) may proceed

under applicable non-bankruptcy law to enforce its remedies to foreclose upon and obtain

possession of the Property, including but not limited to commencing and/or prosecuting a
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mortgage foreclosure action, post-sale process, and eviction proceedings, if necessary, in state

court, and for such other and further relief as the Court may deem just and proper.


Dated: July 8, 2022                                  Respectfully Submitted:




                                                      Jennifer Laufgas
                                                      Bar No.: 56181
                                                      Aldridge Pite, LLP
                                                      Attorney for Movant
                                                      Fifteen Piedmont Center
                                                      3575 Piedmont Road, N.E., Suite 500
                                                      Atlanta, GA 30305
                                                      Phone: (404) 994-7400
                                                      Fax: (619) 590-1385
                                                      Email: jlaufgas@aldridgepite.com
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused a copy of the foregoing Motion for Order Confirming
that the Automatic Stay and Co-Debtor Stay is not in Effect o be served electronically or via U.S.
Mail, first-class postage prepaid, to:
DEBTOR ATTORNEY                                     TRUSTEE
(via electronic notice)                             (via electronic notice)

Christina A Fiallo                                  Nancy K. Neidich
christina@fiallolaw.com                             e2c8f01@ch13miami.com

DEBTOR                                              UNITED STATES TRUSTEE
                                                    (via electronic notice)
Andre Fouad Azzi
7340 SW 82 Street                                   Department of Justice
Unit C201                                           USTPRegion21.MM.ECF@usdoj.gov
Miami, FL 33143
                                                    CO-DEBTOR

                                                    Rocio L Urmeneta
                                                    11861 SW 103rd Ln
                                                    Miami, Florida, 33186

Dated: July 8, 2022

                                                      /s/ Jennifer Laufgas
                                                      Jennifer Laufgas
                                                      Bar No.: 56181
                                                      Aldridge Pite, LLP
                                                      Attorney for Movant
                                                      Fifteen Piedmont Center
                                                      3575 Piedmont Road, N.E., Suite 500
                                                      Atlanta, GA 30305
                                                      Phone: (404) 994-7400
                                                      Fax: (619) 590-1385
                                                      Email: jlaufgas@aldridgepite.com
